            Case 5:22-cv-00032-XR Document 19 Filed 07/08/22 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

  KOCH ENERGY SERVICES, LLC,                        §
                                                    §
                   Plaintiff,                       §
  vs.                                               §           CIVIL ACTION NO. 5:22-cv-00032
                                                    §
  GREY FOREST UTILITIES,                            §
                                                    §
                    Defendant.                      §


                                JOINT ADVISORY TO THE COURT

        Koch Energy Services, LLC (“Koch”) and Grey Forest Utilities (“GFU”) file this Joint

Advisory to inform the Court that the parties are extremely close to entering into a binding

settlement agreement. As this is being filed, drafts of a settlement agreement and release have been

exchanged by the parties, and there appear to be only a few points to resolve. It is the parties’ belief

that a binding settlement agreement should be reached within the next seven (7) days if not sooner.

        Koch has a deadline to file an answer today, but because of the impending settlement GFU

has agreed not to oppose a motion for a further extension of Koch’s deadline in the unlikely event

that the parties’ settlement negotiations do not end successfully.

                                                        Respectfully submitted,



                                                        ZABEL FREEMEAN

                                                        /s/ Thomas A. Zabel
                                                        Thomas A. Zabel, SBN 22235500
                                                        tzabel@zflawfirm.com
                                                        Griffin C. Rice, SBN 24116961
                                                        grice@zflawfirm.com
                                                        1135 Heights Blvd.
                                                        Houston, Texas 77008
                                                        (713) 802-9117
                                                        (713) 802-9114 (Fax)
Case 5:22-cv-00032-XR Document 19 Filed 07/08/22 Page 2 of 2




                                  -and-

                                  /s/ Daniel W. Lanfear
                                  Daniel W. Lanfear
                                  State Bar No. 00784443
                                  The Lanfear Law Firm, P.C.
                                  4040 Broadway, Suite 510
                                  San Antonio, TX 78209
                                  Telephone: 210-824-9230
                                  Facsimile: 210-824-7911
                                  Dan@lanfearlaw.net

                                  Attorneys for Defendant/Counter-Plaintiff
                                  Grey Forest Utilities

                                  -and-

                                  /s/ David T. McDowell
                                  David T. McDowell
                                  David.McDowell@mhllp.com
                                  State Bar No. 00791222
                                  William B. Thomas
                                  William.Thomas@mhllp.com
                                  State Bar No. 24083965
                                  MCDOWELL HETHERINGTON LLP
                                  First City Tower
                                  1001 Fannin, Suite 2700
                                  Houston, Texas 77002
                                  Telephone: 713-337-5580
                                  Facsimile: 713-337-8850

                                  Attorneys for Koch Energy Services, LLC




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